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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA            )
ex rel. BROOK JACKSON               )                 Case No. 1:21-cv-00008-MJT
                                    )
            Relators                )                 HONORABLE MICHAEL J. TRUNCALE
       v.                           )
VENTAVIA RESEARCH GROUP,            )                 MOTION TO REINSTATE RELATOR’S
LLC, et al.                         )                 RULE 59(e) MOTION ON THE
            Defendants.             )                 DOCKET AND DEEM IT TIMELY
____________________________________)


        Relator Brook Jackson, through undersigned counsel, files this motion to respectfully

request this Court to redenominate her recently filed motion as a motion for reconsideration,

reinstate her filing on the docket, and deem it timely filed within the limit set forth in Federal

Rules of Civil Procedure 59(e).

        On April 28, 2023, Relator filed a post-trial motion under Federal Rules of Civil

Procedure 59(e) (“Motion”) [Doc. No. 97] seeking to alter or amend this Court’s Order and

Opinion Granting Defendants Ventavia Research Group, LLC, Pfizer Inc., and Icon, PLC’s

motions to dismiss entered in this action on March 31, 2023 [Doc. No. 96]. See Exhibit A. On

Monday, May 1, 2023, counsel for Relator received notice that the Motion had been improperly

struck and was designated as filed in error as it lacked a certificate of conference and a proposed

order. The Court clarified that the Motion was not placed on the docket and counsel had been

instructed to ignore the filing.

        Federal Rules of Civil Procedure 1 provides that “[t]hese rules govern the procedure in all

civil actions and proceedings in the United States district courts, except as stated in Rule 81.




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They should be construed, administered, and employed by the court and the parties to secure the

just, speedy, and inexpensive determination of every action and proceeding.”

       Local Rule CV-7(i) requires that “all motions must be accompanied by a ‘certificate of

conference’ at the end of the motion following the certificate of service.” However, L.R. CV-

7(i)(1)-(11) lays out exceptions to this rule. These exceptions include motions to dismiss,

motions for a new trial, and motions for reconsideration, among others. While the Eastern

District of Texas Local Rules do not explicitly exempt a Rule 59(e) motion to alter or amend a

final judgment, Relator maintains that her Motion is of the same nature and seeks similar relief to

those motions that are exempted and therefore does not require a certificate of conference.

       Like other exempted motions under Local Rule CV-7(i), “[a] Rule 59(e) motion ‘calls

into question the correctness of a judgment.’ “ Templet v. HydroChem Inc., 367 F.3d 473, 478

(5th Cir. 2004) (quoting In re Transtexas Gas Corp., 303 F.3d 571, 581 (5th Cir.2002)). A

certificate of conference is not required for a motion to dismiss. Therefore, a motion that seeks to

modify an order on a motion to dismiss would logically also not require a certificate of

conference. See Howley v. Bankers Standard Insurance Company, No. 3:19-CV-2477-L, 2021

WL 913290, at *4 (N.D. Tex. Mar. 10, 2021) (concluding that a certificate of conference was not

required for a motion for leave to file a second amended complaint because it is a post-judgment

motion in which Plaintiff contends that the court erred in not allowing him to further amend his

pleadings before dismissing his claims with prejudice and similar in essence to a motion for a

new trial.). Additionally, the rule requiring a certificate of conference is not intended to simply

make busy work for lawyers, and bigger bills for clients, which is what requiring it for motions

to amend orders on motions to dismiss would cause.




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       Moreover, Relator contends that her Rule 59(e) motion should be redenominated as a

motion to reconsider, which is explicitly exempted under the local rules. Courts in this circuit

consistently refer to Rule 59(e) motions as motions to reconsider. See Templet v. HydroChem

Inc., 367 F.3d 473, 477 (5th Cir. 2004); Finney v. Thaler, No. MO:10-CV-00131-DC, 2020 WL

13663878 (W.D. Tex. Jan. 17, 2020); Fletcher v. Apfel, 210 F.3d 510 (5th Cir. 2000).

       Relator’s deadline to file her Rule 29(e) motion was Friday April 28, 2023, 28 days after

final judgment in this matter had been entered. If this Court denies relief, the Court does not have

the opportunity to address this issue as a refiling of the Motion will be considered untimely.

       In the interest of a “just, speedy, and inexpensive” furtherance of this action, Relator

respectfully requests that this Court redenominate Relator’s Motion as a “Motion for

Reconsideration,” reinstate her filing on the docket, and deem it timely filed within the limit set

forth in Federal Rules of Civil Procedure 59(e).



Dated: May 26, 2023
                                      Respectfully submitted

                                      /s/ Lexis Anderson

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of May 2023 a true and correct copy of the

foregoing document was filed electronically in compliance with Local Rule CV-5. All counsel of

record consented to electronic service and are being served with a copy of this document through

the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                    /s/ Lexis Anderson

                                                    Lexis Anderson




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                             CERTIFICATE OF CONFERENCE

       Relator, through undersigned counsel, files this Certificate of Conference to verify that

counsel have complied with the meet and confer requirement in Local Rule CV-7(h). On May 5,

2023, counsel for Relator contacted counsel for Defendants Ventavia Research Group, LLC,

Icon, PLC, and Pfizer, Inc. and informed them of Relator’s intent to file her motion to reinstate

her Rule 59(e) motion on the docket. All Defendants stated that they were opposed to the

motion.

       Per Local Rule CV-7(h), Counsel for Relator held a personal conference via telephone on

May 23, 2023. Attorneys for Relator and Defendants were present. Counsel for Relator

expressed her position and articulated the purpose for bringing the motion. Counsel for

Defendants expressed that they remained opposed to the motion and no agreement could be

reached. The discussion yielded no resolution, and this remains an issue for the Court to resolve.



Dated: May 26, 2023                          Respectfully submitted,

                                             /s/ Lexis Anderson

                                             Lexis Anderson
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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

UNITED STATES OF AMERICA            )
ex rel. BROOK JACKSON               )            Case No. 1:21-cv-00008-MJT
                                    )
            Relators                )
       v.                           )
VENTAVIA RESEARCH GROUP,            )
LLC, et al.                         )
            Defendants.             )
____________________________________)

                                         ORDER

      Upon consideration of Relator Brook Jackson’s Motion to Reinstate Relator’s Rule 59(e)

Motion on the Docket and Deem It Timely (“Motion”), entered on May 26, 2023,

      IT IS HEREBY ORDERED that Relator’s motion is GRANTED.


Dated: ____________________
                                                 _______________________________
                                                 Michael J. Truncale
                                                 United States District Judge
